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                       UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF IOWA

UNITED STATES OF AMERICA                  )       CASE NO. 4:21-CR-00103
              Plaintiff,                  )
                                          )
v.                                        )       DEFENDANT’S TRIAL BRIEF
CARL MURPHY,                              )
                    Defendant.            )

      COMES NOW the Defendant, Carl Murphy, by and through his attorney of
record, and hereby submits the following trial brief.
                                  I.   Factual Setting
      Mr. Murphy was charged in the second superseding indictment on July 19,
2022, with conspiracy to distribute a controlled substance, in violation of 21 U.S.C. §
846; 841(a)(1); 841(b)(1)(A). The indictment included a notice of prior conviction for
Mr. Murphy. On October 12, 2022, a Notice Under Federal Rule 404(b) was filed
giving notice the Government intended to prove one prior serious drug felony
conviction under 21 U.S.C. § 851(a)(1).
      It is anticipated the evidence will indicate Malek Holmes, Pierre Black,
Deshawn Greer, Desmond Howard, Gregory Spight, Earl Clay III, Michael Byrd,
Carl Murphy, Azim Abdul-Ahad, Ronald Harris, Deante Neely, Derrick Fleming,
Dandre Cox, Patrick Staples, Tabaris Brown, Brandon Reed, Jason Beaman, Elijah
Seymour, Felicia Olson, Sarah Hume, Andrew Price, Jamisha Canada, Tonie
Canada, and Rickey’a Jackson and others were involved in the sale of controlled
substance, to wit: heroin with a detectable amount of fentanyl. The Government’s
case in chief is anticipated to be historical testimony of these or other cooperating
witnesses and intercepted communications.
      In May 2020, an investigation by Mid-Iowa Narcotics Enforcement Taskforce
(MINE) and the Federal Bureau of Investigation (FBI) began concerning heroin
sales in the Des Moines area. Through investigative techniques including arresting
low level users and converting them to government agents, surveillance and
controlled buys, agents determined that the Drug Trafficking Organization (DTO)

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distributed heroin/fentanyl throughout Des Moines to a large customer base. In the
summer of 2020, pen register trap and trace orders were executed on three known
drug trafficking organization phone numbers.
            Based on interviews with heroin users after controlled buys with Holmes and
others, law enforcement was informed that the DTO obtained their heroin/fentanyl
from Chicago. Upon further investigation, they identified Carl Murphy as one of the
DTO’s possible sources of supply. Various individuals were shown visiting Carl
Murphy’s house. However, investigators did not consider that these individuals
knew Murphy from their childhood. They reconnected with Murphy at the repass of
Damien Murphy, Carl Murphy’s son, in December 2019. The connection that some
of these individuals had with Damien Murphy, aka Lil Ceno, prior to his passing
was strong. One of the rap songs written and performed by Jack da Jrippa, AKA,
Deshawn Greer entitled “Nation Babies” included a tribute to Damien Murphy. The
music video and transcript will be offered into evidence.1 The video contains
Deshawn Greer, Malek Holmes, Pierre Black, Tabaris Brown, and Desmond
Howard. These are all known members of the DTO in Des Moines.
            Cameras were set up outside the residence of Carl Murphy located at 15731
Kedzie Avenue in Markham, Illinois on April 2, 2021. This camera was covertly
installed on a telephone pole outside approximately 266 feet (about 87 yards) from
Murphy’s residence on a telephone pole approximately 35 feet high and remained
up through at least July 20, 2021. For at least 3 months, these cameras recorded
twenty-four hours a day, seven days a week. Murphy filed a Motion to Suppress
Illegal Search on October 17, 2022 with an accompanying brief alleging that
Murphy’s Fourth and Fourteenth Amendment rights were violated by this pole
camera. This motion was denied on October 31, 2022. Murphy will renew his




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    The transcript is attached to this brief for review.

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objections to this evidence coming in at trial.
                                             Issues
   A. Trial Matters
               The parties will submit proposed instructions to the Court. With minor
      differences, the parties agree with the substantive content of the instructions.
               Defendant requests production of all Jencks material, to the extent
      such statements are not previously provided. 18 U.S.C. § 3500.
               There is a trial transcript from the first trial that took place August 22,
      2022. Counsel intends to use this transcript for cross-examination and
      impeachment of Government witnesses.
               Government cooperating witnesses have given statements that were
      recorded. Following directions from the Court at the last pretrial conference,
      the recording statements were turned over to Murphy’s defense team. These
      audio recordings were immediately sent to Sarah Dittmer, certified court
      reporter. As of today’s date, Counsel has not received all transcriptions of
      these recorded interviews. Once all have been received, Counsel will turn
      them over to the Government.
          Should witnesses testify inconsistent with those previous statements,
      Counsel will refer to the transcribed prior statements and proffers and will
      point out to the Government and the Court the questions and answers that
      appear in those exhibits. It is anticipated the exhibit would not only be shown
      to the witness, but also given to the jury. The Rules of Evidence allow for this
      procedure.
          Federal Rule of Evidence 613 provides:

          a.      Showing or disclosing the statement during examination. When
                  examining a witness about the witness’s prior statement, a party
                  need not show it or disclose its contents to the witness. But the
                  party must, on request, show it or disclose its contents to an
                  adverse party’s attorney.

          b.      Extrinsic evidence of a prior inconsistent statement. Extrinsic
                  evidence of a witness’s prior inconsistent statement is admissible

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             only if the witness is given an opportunity to explain or deny the
             statement and an adverse party is given an opportunity to examine
             the witness about it, or if justice so requires. This subdivision (b)
             does not apply to an opposing party’s statement under rule
             801(d)(2).


  Fed. R. Evid. 613.
         Rule 613 evidence must not be collateral and meet Rule 403
  requirements. United States v. Durham, 470 F.3d 727, 732 (8th Cir. 2006).
  Extrinsic evidence of prior inconsistent statements is admissible under Rules
  607 and 613(b), subject to the Rule 403 balancing test. United States v.
  Demery, 674 F.3d 776, 780 (8th Cir. 2011). It is anticipated, if such
  impeachment is needed, it will only be on matters of previous statements
  concerning the charged conspiracy and relevant to the pending charges.
         Since the last pretrial conference on November 10, 2022, trial counsel
  has requested the following items from the Government for use during cross-
  examination for impeachment: Malek Holmes Linesheets and References
  (transcribed phone conversations by Malek Holmes over the course of the
  Title III Wiretap Surveillance) and the sealed pre-sentence investigation
  reports of Malek Holmes and Ronald Harris, and criminal histories of Malek
  Holmes and Ronald Harris. Concerning these criminal histories, the
  Government has informed trial counsel that they will be disclosed five days
  prior to trial.
B. Demonstrative Evidence
         Counsel plans on utilizing bagged brown sugar to help the jury
  understand the size of the weighted packages of heroin that will be discussed
  throughout the case. Brown sugar is a similar texture to the heroin
  confiscated from Holmes and others when they were arrested on July 21,
  2021. Plastic sandwich bags were used by the DTO to contain the various




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           weights of heroin that were bought and sold.
      C. Witness for the Defense
                    Trial counsel attempted to subpoena Timothy Roberson, an inmate at
           Polk County Jail in Des Moines, Iowa. Roberson could have testified as a
           material witness to the incident alleged involving Murphy and alleged
           threats that were made to Malek Holmes in July 2022. Counsel was directed
           by this Court to file a UMS-285 form to have Roberson testify at trial due to
           Roberson being in US Marshal custody.
                    After consulting with the Clerk’s office and the US Marshals, Counsel
           was directed to speak with the US Attorney’s office. Trial counsel met with
           AUSA Weiser and Jennings to discuss this form. He was informed that the
           US Attorney’s office does not hand out these forms, and that it would be best
           to try and contact Lucas Taylor, Roberson’s attorney again. Counsel spoke
           with Lucas Taylor the same day and was informed that Taylor would meet
           with Roberson and get back to him about testifying.
                    On December 7, 2022, Lucas Taylor emailed AUSA Weiser and
           Counsel and notified them that “I doubt that my client would commit perjury.
           However, given the possibility of criminal charges and their possible impact
           on my client's sentence, I believe it is appropriate for him to exercise his right
           to remain silent and advise Mr. Roberson of the same. Mr. Roberson agrees
           with my advice and would assert his Fifth Amendment right to remain silent
           if compelled to testify.”2 On December 6th, the day prior, AUSA Weiser filed a
           motion to continue sentencing hearing in Timothy Roberson’s federal case
           alleging “Defendant’s trial testimony could amount to perjury and obstruction
           of justice.”3 Mr. Roberson’s counsel “doubt[s] that [his] client would commit
           perjury,” yet threats from the Government have made him wary of testifying
           to the interaction he witnessed between Malek Holmes and Carl Murphy in



2
    The entire email is attached to this brief.
3
    Motion to Continue Sentencing hearing filed in S. District of Iowa case number 4:22-CR-005, Dkt 92.

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        July 2022.
                This testimony is vital to refute the pending enhancements for
        intimidation of a witness against Murphy which will be addressed at trial by
        Malek Holmes.
    D. Motions in Limine
                At the time of filing, there are motions in limine and related
        resistances filed by both parties. Those evidentiary issues are not reiterated
        here.
    E. Trial Length.
                It is anticipated trial will last approximately four trial days to
        submission to the jury.
Dated this 30th day of December, 2022.

                                                         Respectfully submitted,

                                                         CARL MURPHY, Defendant,
                                                         By: /s/Brian S. Munnelly



                                        CERTIFICATE OF SERVICE

        I hereby certify that on the 30th day of December, 2022 I electronically filed the foregoing Trial
Brief with the Clerk of the Court using CM/EFC system, which will send notification of such ruling to
the other parties in this case.

                                                                                    /s/Brian S. Munnelly




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